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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA


   INDIANA STATE CONFERENCE OF THE
   NATIONAL ASSOCIATION FOR THE
   ADVANCEMENT OF COLORED PEOPLE
   (NAACP) and LEAGUE OF WOMEN
   VOTERS OF INDIANA,

                         Plaintiffs,

                  v.                                  Docket No. 1:17-cv-02897-TWP-MPB

   CONNIE LAWSON, in her official capacity as
   the Indiana Secretary of State; J. BRADLEY
   KING, in his official capacity as Co-Director of
   the Indiana Election Division; ANGELA
   NUSSMEYER, in her official capacity as Co-
   Director of the Indiana Election Division,

                 Defendants.
   COMMON CAUSE INDIANA,

   Plaintiff,

   v.                                                 Docket No. 1:17-cv-03936-TWP-MPB

   CONNIE LAWSON, in her official capacity as
   the Indiana Secretary of State; J. BRADLEY
   KING, in his official capacity as Co-Director of
   the Indiana Election Division; ANGELA
   NUSSMEYER, in her official capacity as Co-
   Director of the Indiana Election Division,

   Defendants.

                           MEMORANDUM OF LAW IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                           INTRODUCTION

          After nearly three years of litigation, the Indiana legislature ignored two court rulings and

   passed legislation, at Defendants’ urging, that fails to address the violations of federal law that led

   this court to enjoin Senate Enrolled Act (“SEA”) 442.1 Defendants have swapped in one interstate

   database for another and continue to permit voter registration cancellations based solely on third-

   party information. This Court and the Seventh Circuit enjoined Defendants from doing just that

   under Senate Enrolled Act 442. Both courts made resoundingly clear that Indiana officials cannot

   remove a voter from the rolls on the basis that the voter has moved absent direct contact with the

   voter, unless officials provide notice and wait two general election cycles, as the National Voter

   Registration Act (“NVRA”) requires. Yet, Defendants prepared an amendment, SEA 334, that still

   permits unlawful purges of Indiana voters without the NVRA-mandated notice and waiting period.

          Before SEA 442, Indiana required federally-mandated notice to remove a voter from the

   rolls. SEA 442 eliminated that notice requirement when a voter was flagged as a “match” in the

   Interstate Voter Registration Crosscheck Program (“Crosscheck”). But after this Court and the

   Seventh Circuit concluded that SEA 442’s procedure was unlawful, Secretary Lawson and

   Co-Director King drafted language that once again fails to bring state law into compliance with the

   NVRA’s clear mandate. Although SEA 334 restores Indiana’s pre-SEA 442 language requiring a

   determination as to whether a voter “authorized” cancellation, SEA 334 adds a yawning loophole

   that allows officials to remove voters in the same way that this Court and the Seventh Circuit

   forbade. Specifically, SEA 334 provides that county registrars should “consider” “written notice


          1
             Hereinafter, “SEA 442” shall refer to Senate Enrolled Act 442, sec. 15,
   Ind. Code §§ 3-7-38.2-5(d)-(e) (2017); “HEA 1253” shall refer to House Enrolled Act 1253, sec. 3,
   Ind. Code §§ 3-7-38.2-5(d)-(f) (2018); “SEA 334” shall refer to Senate Enrolled Act 334, secs. 6-8,
   Ind. Code §§ 3-7-38.2-5, -5.1, -5.5 (2020). Redlines reflecting SEA 442, HEA 1253, and SEA 334’s
   amendments to Indiana Code are attached as Exs. 1, 2 & 3, respectively, to the Declaration of
   Alexandre J. Tschumi (“TD”).


                                                     1
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   from another state to an Indiana county voter registration official” as “confirmation that [an]

   individual is registered in another jurisdiction and has requested cancellation of the Indiana

   registration.” SEA 334 § 5.5(f)(2). Explicitly, “[a] copy of the actual voter signature is not required

   to be provided to the county for the voter’s status to be canceled if the written notice is forwarded

   by the election division.” Id. (emphasis added). In other words, SEA 334 still expressly allows

   purges without direct contact from the voter, and without notice and waiting. This unequivocally

   violates the NVRA, which

           forbids a state from removing a voter from that state’s registration list unless: (1) it
           hears directly from the voter via a “request” or a “confirm[ation] in writing” that the
           voter is ineligible or does not wish to be registered; or (2) the state goes through the
           statutorily prescribed process of (a) notifying the voter, (b) giving the voter an
           opportunity to respond, and (c) then waiting two inactive election cycles before
           removing a suspected ineligible voter who never responds to the notice. Both of
           these avenues focus on direct contact with the voter.

   Common Cause Ind. v. Lawson, 937 F.3d 944, 959 (7th Cir. 2019) (first and third emphases added).

           Rather than comply with the NVRA, SEA 334 makes superficial changes while failing to

   remedy the core flaw of SEA 442 that gave rise to this litigation. Defendant King has represented

   that there has been no definitive ruling in this case, notwithstanding this Court and the Seventh

   Circuit’s clear statements as to what the NVRA requires. But the Seventh Circuit’s ruling is the law

   of the case, and Defendants should not get a second bite at the apple by implementing policy that

   already has been found unlawful under a different bill number.

           Plaintiffs respectfully request that the Court enter summary judgment in Plaintiffs’ favor and

   that the Court permanently enjoin Defendants from implementing any voter list maintenance

   program that permits county voter registration officials to remove, or otherwise removing, any

   Indiana registrant from the list of eligible voters because of a change in residence absent: (1) a

   “request” or “confirm[ation] in writing” directly from the voter that the voter is ineligible or does not

   wish to be registered; or (2) the National Voter Registration Act-prescribed process of (a) notifying


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   the voter, (b) giving the voter an opportunity to respond, and (c) then waiting two inactive federal

   election cycles.

                          THE NATIONAL VOTER REGISTRATION ACT

             Congress enacted the NVRA to “reduc[e] barriers, particularly government-imposed barriers,

   to applying for voter registration.” H.R. REP. No. 103-9, at 3 (1993). Specifically, Congress

   recognized that historically, restrictive laws and procedures, including residency requirements,

   “elaborate administrative procedures,” and “selective purges” of voter registration lists, had the

   effect of suppressing voter turnout. Id. at 2. The NVRA “sets the boundaries within which states

   must operate when they administer the voter-registration process,” Common Cause, 937 F.3d at 947,

   which are designed to “increase the number of eligible citizens who register to vote in elections for

   Federal office;” “to protect the integrity of the electoral process;” and “to ensure that accurate and

   current voter registration rolls are maintained,” 52 U.S.C. §§ 20501(b)(1), (3)-(4). In sum, “Congress

   enacted the National Voter Registration Act to enhance voting opportunities for every American.”

   Ind. State Conf. of the NAACP v. Lawson, 326 F. Supp. 3d 646, 655 (S.D. Ind. 2018) (emphasis

   added).

             The NVRA enumerates five reasons for which voters may be removed from voter rolls

   without providing the required notice, response opportunity, and waiting period (the “Notice-and-

   Waiting Requirements”): (i) the voter has requested to be removed, 52 U.S.C. § 20507(a)(3)(A),

   (ii) the voter is ineligible under state law due to criminal conviction, id. § 20507(a)(3)(B), (iii) the

   voter is ineligible under state law due to mental incapacity, id., (iv) the voter has died,

   id. § 20507(a)(4)(A); or (v) the voter has confirmed in writing a changed address,

   id. § 20507(a)(4)(B), (d)(1)(A). Only reasons (i) and (v) could possibly apply to this case.2 Thus,


             2
          The inapplicable reasons for removal are omitted from the following discussion of the
   NVRA statutory framework.


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   Indiana has two relevant options for removing a registrant from the voter rolls: It may do so “at the

   request of the registrant,” id. § 20507(a)(3); or “by reason of . . . a change in the residence of the

   registrant,” so long as the “registrant . . . confirms in writing that the registrant has changed

   residence” or “has failed to respond to a notice [and] has not voted or appeared to vote” in

   consecutive general Federal elections, id. §§ 20507(a)(4)(B), (d)(1)(A)-(B).

          The Notice-and-Waiting Requirements provide a registrant with the opportunity to correct an

   incorrect conclusion on the part of the county that the voter has changed residence based on

   second-hand evidence.3 The Notice-and-Waiting Requirements are essential given the possibilities of

   error when doing large and systematic list maintenance efforts and the disenfranchisement that can

   result from those errors.

                                      PROCEDURAL POSTURE

          On August 23, 2017, the Indiana State Conference of the National Association for the

   Advancement of Colored People (“NAACP”) and the League of Women Voters of Indiana

   (“League”) filed an action against Connie Lawson, in her official capacity as the Indiana Secretary

   of State (“Secretary of State,” “Lawson,” or “Secretary Lawson”); J. Bradley King, in his official

   capacity as Co-Director of the Indiana Election Division (“King” or “Co-Director King”); and

   Angela Nussmeyer, in her official capacity as Co-Director of the Indiana Election Division

   (“Nussmeyer” or “Co-Director Nussmeyer”; together with King, “Co-Directors”; and together with

   Lawson and King, “Defendants”). Dkt. 1, No. 1:17-cv-02897-TWP-MPB. On October 27, 2017,




          3
            The Notice-and-Waiting Requirements provide that the voter must be sent a notice via
   forwardable mail with a pre-addressed and pre-paid card that can be returned to the county, allowing
   the voter to confirm her address. Id. § 20507(d)(2).


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   Common Cause Indiana (“Common Cause,” and together with the NAACP and the League,

   “Plaintiffs”) also filed an action against Defendants. Dkt. 1, No. 1:17-cv-03936-TWP-MPB.4

          Plaintiffs alleged that the Indiana Code violated the NVRA by permitting removal of voters

   from the voter registration rolls without providing the required notice, response opportunity, and

   waiting period, and, thereby, that Defendants’ implementation of state law violated the NVRA.

   NAACP Dkt. 1 ¶ 1, Common Cause Dkt. 1 ¶ 1. And Plaintiffs further alleged that Defendants’

   implementation of state law would result in non-uniform, discriminatory, and illegal cancellations of

   voter registrations in violation of the NVRA. NAACP Dkt. 1 ¶ 1, Common Cause Dkt. 1 ¶ 1.

          On June 8, 2018, this Court enjoined “Defendants from taking any actions to implement

   SEA 442 until th[e] case has been finally resolved.” NAACP, 326 F. Supp. 3d at 664. The Court

   “determine[d] that Plaintiffs have a high likelihood of success on the merits of their claim that

   SEA 442 violates some of the requirements of the NVRA and threatens disenfranchisement of

   eligible voters.” Id. at 661. This Court also “note[d] that it appears the implementation of SEA 442

   will likely fail to be uniform,” id. at 662, in further violation of the NVRA, 52 U.S.C. § 20507(b)(1).

   On August 27, 2019, the Seventh Circuit affirmed this Court “was correct to find that the

   Organizations are likely to succeed on the merits of their challenge.” Common Cause, 937 F.3d

   at 949. The Court held that the NVRA “forbids a state from removing a voter from that state’s

   registration list unless: (1) it hears directly from the voter via a ‘request’ or a ‘confirm[ation] in

   writing’ that the voter is ineligible or does not which to be registered; or (2) the state goes through

   the statutorily prescribed [Notice-and-Waiting Requirements]. Both of these avenues focus on direct



          4
             Hereinafter, references to documents filed in the case Indiana State Conference of the
   National Association for the Advancement of Colored People (NAACP) et al. v. Lawson et al.,
   No. 1:17-cv-02987-TWP-MPB, shall be cited as “NAACP Dkt. #” and references to documents filed
   in the case Common Cause Indiana v. Lawson et al., No. 1:17-cv-03936-TWP-MPB, shall be cited
   as “Common Cause Dkt. #.”


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   contact with the voter.” Id. at 959 (emphases added; first alteration in original). The “omi[ssion of]

   any direct contact with the voter . . . is fatal.” Id. at 958.

                     STATEMENT OF MATERIAL FACTS NOT IN DISPUTE

       A. Voter List Maintenance in Indiana

           1. Defendants Oversee and Administer Indiana’s Voter List Maintenance

           Secretary Lawson is Indiana’s chief election official charged with performing all election

   administration ministerial duties. Ind. Code §§ 3-6-3.7-1, 3-6-4.2-2(a). King and Nussmeyer are

   Co-Directors of the Indiana Election Division (the “Election Division” or “IED”) and jointly preside

   over it. Id. §§ 3-6-4.2-3(a)-(b), -5. The NVRA requires that Indiana “designate a State officer or

   employee as the chief State election official to be responsible for coordination of State

   responsibilities under [the NVRA].” 52 U.S.C. § 20509. Indiana has delegated that responsibility to

   the Co-Directors of the Election Division, Ind. Code § 3-7-11-1, and overlapping responsibilities to

   Secretary Lawson, in whose Office the Election Division sits. Id. § 3-6-4.2-1.5 Secretary Lawson is

   also the State’s chief election official and is charged with implementing “a single, uniform, official,

   centralized, and interactive statewide voter registration list” “in a uniform and nondiscriminatory

   manner.” Id. § 3-7-26.3-3. Defendants are thus directly responsible for overseeing the counties’ voter

   list maintenance and their compliance with the NVRA. Id. §§ 3-6-3.7-1, -4.2-2(a).




           5
            State law delegates various responsibilities related to voter registration to the Secretary of
   State and the Co-Directors, jointly. See, e.g., Ind. Code § 3-7-26.3-4 (granting joint ownership of the
   State Voter Registration System to the Secretary of State and Co-Directors so they might “ensure the
   proper maintenance and administration of the list”); id. § 3-7-26.3-29(10) (requiring the State Voter
   Registration System “[c]ontain full audit controls and management reports to track and manage the
   work of county voter registration office employees, including the ability of the secretary of state or
   the co-directors of the election division to determine whether a county voter registration office is
   performing voter list maintenance functions in the manner required by [Indiana Code Article 7,
   which governs voter registration]”).


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          Indiana has 92 counties.6 Each county has either an Election Board or Board of Registration.

   Ind. Code § 3-6-5-1; see also id. § 3-6-5.2. The Co-Directors must promulgate official policies,

   guidance, and standard operating procedures instructing county election boards and boards of

   registration on their duties under state and federal law, and provide training on these policies and

   procedures. Id. § 3-6-4.2-14; NAACP Dkt. 42-21 at 11:5-20. While the 92 county boards maintain

   voter registration records within their jurisdictions, list maintenance is governed by policies,

   procedures, and guidance promulgated by the Co-Directors, and constrained by the IED’s “business

   rules” governing the electronic State Voter Registration System (“SVRS”), a digital dashboard in

   which Indiana voter list maintenance takes place. Id. at 12:14-14:11, 76:4-15, 109:9-17, 110:20-23;

   NAACP, 326 F. Supp. 3d at 651.7 “The official guidance from King and Nussmeyer, as reflected in

   these protocols, documents, and trainings are mandatory.” NAACP, 326 F. Supp. 3d at 651.8 King

   and Nussmeyer “dictat[e] what information will be provided to county officials . . . and . . . what

   actions the county officials are able to take within the ‘online portal’ of the statewide system.” Id.

          2. Indiana’s Voter Registration Cancellation Process Prior to SEA 442

          From 2015 to 2020, Indiana used Crosscheck as a “method for identifying voters who may

   have become ineligible to vote in Indiana because of a change in residence.” Id. at 652. Participating

   states submit annually their official lists of registered voters to Crosscheck, which uses them to

   identify “apparent duplicate registration[s]” by comparing data using just three fields—first name,

   last name, and birth date. NAACP Dkt. 42-2 at 3. Crosscheck does not receive or distribute primary

   voter registration documents, which might include a voter’s signature or prior residence address,

          6
             Indiana County Numbers and County Names,
   http://www.state.in.us/fssa/files/Indiana_county_numbers_names.pdf (last visited July 1, 2020).
           7
             The SVRS is “a single, uniform, official, centralized, and interactive statewide voter
   registration list.” Ind. Code §§ 3-7-26.3-3, -4.
           8
             See also NAACP Dkt. 42-21 at 81:2-25; NAACP Dkt. 42-23 at 20:11-21:5, 41:14-42:6;
   NAACP Dkt. 42-24 at 20:4-6, 21:16-18, 22:5-11, 45:17-46:12; NAACP Dkt. 42-25 at 16:1-24,
   18:2-7; NAACP Dkt. 42-26 at 15:14-18, 16:13-25.


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   with its lists of “matches.” Id. at 2-3; NAACP Dkt. 42-21 at 96:20-25. Nor does Crosscheck include

   signatures or former addresses among the identifying information provided to participating states.

   NAACP Dkt. 42-2 at 2-3.

           The IED provided Crosscheck with Indiana’s list, TD Ex. 1 § 5(d), and upon receiving

   comparison data back from Crosscheck, IED provided counties with lists of all Indiana voters having

   an “identical” “first name, last name, and date of birth of the voter registered in the other state,” and

   “any other information obtained,” id. The IED applied to Crosscheck data “confidence factors”

   assigning points when certain data fields matched. NAACP Dkt. 42-21 at 67:7-23.9 Records

   exceeding a point threshold, id., were placed into SVRS “hoppers,” which are SVRS data folders for

   county processing, NAACP Dkt. 42-28 at 19:15-22.

           Prior to SEA 442’s 2017 enactment, Indiana Code required that:

           The county voter registration office shall determine whether the individual:
                  (1) identified in the report provided by the NVRA official . . . is the same
                  individual who is a registered voter of the county;
                  (2) registered to vote in another state on a date following the date that voter
                  registered in Indiana; and
                  (3) authorized the cancellation of any previous registration by the voter when
                  the voter registered in another state.

   TD Ex. 1 §§ 5(d)(1)-(3). Under that law, if the county made the first two determinations, but not the

   third, it was required to “send an address confirmation notice to the Indiana address of the voter.”

   Id. § 5(e). If the county made all three determinations, it was required to “cancel the registration of

   that voter.” Id.

           In the SVRS hopper, counties would review the information provided by the IED, and select

   one of three options: “match approved,” “match rejected,” or “research needed.” NAACP, 326

   F. Supp. 3d at 652. Approvals automatically generated address confirmation notices, NAACP

           9
            Prior to the 2018 enactment of HEA 1253, TD Ex. 2, which codified the confidence factors,
   IED policy required their application. NAACP Dkt. 42-21 at 68:15-21. As such, the confidence
   factors were in effect at all relevant times.


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   Dkt. 42-21 at 70:20-71:3; NAACP Dkt. 42-22 at 46:2-10, reflecting that they were tied to the first

   two determinations under then-Indiana Code, see TD Ex. 1 § 5(e). If the voter did not respond to the

   mailer, the voter would be put in inactive status but would not be removed from the rolls unless the

   voter did not vote over the course of the next two federal general election cycles. NAACP Dkt. 42-22

   at 46:11-24.

          3. Indiana’s Voter Registration Cancellation Process Under SEA 442

          In 2017, the Indiana General Assembly enacted SEA 442. SEA 442 amended its predecessor

   law to provide for cancellation of a registration upon making only the first two “determin[ations],”

   striking altogether the references to determination that an individual “authorized the cancellation of

   any previous voter registration” and “address confirmation notice.” SEA 442 § 5(e). Under SEA 442,

   county approval of matches would generate cancellations rather than mailers. NAACP Dkt. 42-22

   at 37:14-38:3. Thus, SEA 442 mandated the cancellation of a voter registration, without following

   the Notice-and-Waiting Requirement for approved matches. Id. at 37:14-38:3, 38:13-16.

          4. The District Court Enjoined Implementation of SEA 442 and the Seventh Circuit
             Affirmed

          On June 8, 2018, this Court enjoined “Defendants from taking any actions to implement

   SEA 442 until th[e] case has been finally resolved.” NAACP, 326 F. Supp. 3d at 664. The Court

   “determine[d] that Plaintiffs have a high likelihood of success on the merits of their claim that

   SEA 442 violates some of the requirements of the NVRA and threatens disenfranchisement of

   eligible voters.” Id. at 661. The Court found that SEA 442 removed the NVRA’s “simple procedural

   safeguard[]” that “a state ‘shall not remove the name of a registrant from the official list of eligible

   voters . . . on the ground that the registrant has changed residence unless the registrant,’

   (1) ‘confirms in writing that [they have] changed residence,’ or (2) has failed to respond to a mailed

   notification and has not voted to two federal election cycles.” Id. (quoting 52 U.S.C. § 20507(d)(1));



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   see also id. at 650. The Court noted that “information is not coming from the voter . . . .” Id.

           The Seventh Circuit affirmed this Court “was correct to find that the Organizations are likely

   to succeed on the merits of their challenge,” Common Cause, 937 F.3d at 949. The Court also held

   that the NVRA “forbids a state from removing a voter from that state’s registration list unless: (1) it

   hears directly from the voter via a ‘request’ or a ‘confirm[ation] in writing’ that the voter is ineligible

   or does not wish to be registered; or (2) the state goes through the statutorily prescribed [notice and

   waiting process]. Both of these avenues focus on direct contact with the voter.” Id. at 959 (emphases

   added; second alteration in original).

           On October 30, 2019, the Court stayed litigation until May 1, 2020, sua sponte, to see

   whether the Indiana legislature would make any changes to SEA 442 that might affect the cases.

   NAACP Dkts. 116, 127.

           5. Indiana’s Voter Registration Cancellation Process Under SEA 334

           On March 21, 2020, Governor Eric Holcomb signed SEA 334, which amended SEA 442,

   voided the state’s memorandum of understanding with the Kansas Secretary of State, and mandated

   Indiana’s withdrawal from Crosscheck. SEA 334 §§ 5.5(a)-(b). In Crosscheck’s place, SEA 334

   established the Indiana Data Enhancement Association (“IDEA”), an organization functionally

   identical to Crosscheck that receives member states’ voter lists and returns purported matches.10

   SEA 334 § 5.5(b). Secretary Lawson and Co-Director King were primary drafters of SEA 334 and


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             Co-Director Nussmeyer testified against SEA 334, stating she was “not in support of the
   state creating a Kansas Crosscheck program . . . ” and that its primary effect would “have Indiana
   become the next Kansas,” Hr’g before the Ind. S. Comm. on Elections, Jan. 23, 2020 (hereinafter
   “S. Hr’g”), http://iga.in.gov/information/archives/2020/video/committee_elections_3500/ (last
   visited July 1, 2020). State Representative Wesco, SEA 334’s House sponsor, wrote in a letter to
   Common Cause’s Policy Director that the bill was “[c]reating a cross-check of voter registrations
   with other states . . . .” Supplemental Declaration of Julia Vaughn (“VSD”) Ex. A at 1. And Senator
   Walker, SEA 334’s nominal author, introduced the bill as “creating a voter maintenance list
   crosscheck database, modeling some of the actions off of existing products and former systems . . . .”
   S. Hr’g.


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   proponents of IDEA. S. Hr’g.11 SEA 334 delegates oversight of IDEA to the Co-Directors and

   Secretary of State. IDEA is administered by Indiana’s NVRA official (the Co-Directors).

   SEA 334 § 5.5(a). Not later than July 1, 2020, “the NVRA official shall adopt an order for the

   administration of voter list maintenance programs to be performed by IDEA.” Id. § 5.5(b). If the

   Co-Directors fail to adopt an order by then, the Secretary of State steps into their shoes. Id.

           Under SEA 334, IDEA seeks to use “matches” between state data to identify voters who have

   moved to and registered to vote in another state. NAACP Dkt. 42-2 at 3; Hr’g before the Ind. House

   Comm. on Elections & Apportionment, Feb. 20, 2020 (hereinafter “H.R. Hr’g”)12 (nominal author

   Senator Walker describing IDEA as “a voter list maintenance list crosscheck database, model[ed] off

   of existing products and former systems”). Within 30 days of comparing data from other states, the

   NVRA official is to provide to counties lists of all Indiana voters having (i) an “identical” “first

   name, last name, and date of birth of the voter registered in the other state,” and (ii) whose records

   meet the “confidence factor” threshold. HEA 1253 § 5(d); SEA 334 § 5.5(c)(1)-(2); see also S. Hr’g

   (King: IDEA is a program “where each state would voluntarily provide data to Indiana, Indiana

   would use the existing confidence factors in our state statutes, and provide data back to the

   participating states.”). IDEA does not collect or disseminate the actual voter registration documents

   underlying its “matches,” SEA 334 §§ 5.5(b), (f), and does not involve direct contact with

   registrants, id. §§ 5.5(a)-(c).

           SEA 442 and SEA 334 both require counties to make “determinations” prior to cancelling a


           11
              Testifying on his and the Secretary’s behalf in support of SEA 334, Co-Director King
   stated, “[t]he Secretary of State’s office has proposed in the bill, as introduced, stepping in to form
   [IDEA] . . . .” S. Hr’g. Senator Walker, the Bill’s nominal author, stated, “334 does have
   Amendment No. 1, which is pertaining to the adoption of the voter list maintenance program, to get
   that in the form as the Secretary of State’s looking to implement and adopt that program.”
   Id. (emphasis added).
           12
              http://iga.in.gov/information/archives/2020/video/committee_elections_and_apportionment
   _0500/ (last visited July 1, 2020).


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   voter registration. Both permit cancellation of a voter registration absent direct contact with a

   registrant. The following illustrates a portion of SEA 334’s amendment of SEA 442:

           SEA 334 (redline against SEA 442)

            (d) The county voter registration office shall determine whether the individual:
                    (1) identified in the report provided by the NVRA official under this
                    subsection (c) is the same individual who is a registered voter of the county;
                    and
                    (2) registered to vote in another state on a date following the date that voter
                    registered in Indiana; and
                    (3) authorized the cancellation of any previous registration by the voter when
                    the voter registered in another state.
            (e) If the county voter registration office determines that the voter is described by
           subsection (d), the county voter registration office shall cancel the voter registration
           of that voter. If the county voter registration office determines that the voter is
           described by subsection (d)(1) and (d)(2), but has not authorized the cancellation of
           any previous registration, the county voter registration office shall send an address
           confirmation notice to the Indiana address of the voter.

   TD Ex. 3 § 5.5(d)-(e).

           SEA 334 requires that counties make an additional “determination” that an individual

   “authorized the cancellation of any previous registration by the voter when the voter registered in

   another state.” SEA 334 § 5.5(d)(3). This reinstates the third “determination” required under

   SEA 442’s predecessor law and removed by SEA 442. Compare TD Ex. 1 § 5(d)(3) with

   SEA 334 § 5.5(d)(3). What constitutes “authoriz[ation of] cancellation of any previous registration

   by the voter when the voter registered in another state” has never been defined by the Indiana Code.

   TD Ex. 1; TD Ex. 3.

           The term “authoriz[ation of] cancellation” is not parallel to the text of the NVRA, which

   refers only to removals at the “request of the registrant” or following “confirm[ation] in writing that

   the registrant has changed residence.” 52 U.S.C. §§ 20507(a)(3)(A), (d)(1)(A). However, SEA 334

   sets forth that “authoriz[ation of] cancellation” can be satisfied absent direct contact with a

   registrant.



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           Specifically, SEA 334 adds a provision, not present in SEA 442 or its predecessor, offering

   types of information that Defendants and counties “may” rely upon in making “determinations,”

   including the determination of whether a voter “authorized the cancellation”:

            (f) The county voter registration office may rely on written information provided
           either directly by a voter registration office in another state or forwarded from the
           election division from the office in the other state as follows:
                    (1) If this information is provided directly from the other state to the Indiana
                    county voter registration official, the out-of-state voter registration official
                    must provide a copy of the voter’s signed voter registration application which
                    indicates the individual authorizes cancellation of the individual’s previous
                    registration.
                    (2) If the election division forwards written notice from another state to an
                    Indiana county voter registration official, the county should consider this
                    notice as confirmation that the individual is registered in another jurisdiction
                    and has requested cancellation of the Indiana registration. A copy of the
                    actual voter signature is not required to be provided to the county for the
                    voter's status to be canceled if the written notice is forwarded by the election
                    division.
           County voter registration officials shall review the date the individual registered out
           of state and the date the individual registered in Indiana to confirm which registration
           is more recent when performing the officials' analysis under this subsection.

   SEA 334 § 5.5(f).

           “[W]ritten notice” is a broader concept than a voter registration form or direct contact with a

   registrant. See, e.g., NAACP Dkt. 42-22 at 41:19-42:13 (“It can be a printout from a county voter

   registration office that identifies the individuals who’ve indicated an address somewhere in Indiana.

   It can take the form of a copy of the individual’s new voter registration record. And it can also come

   as a compilation made at the state level that lists that information. Can also take the form of emails

   from an individual at the county or in some states municipal level regarding that voter registration

   activity.”). Representative Wesco, a sponsor of SEA 334, confirmed that the “written information”

   or “written notice” from another state need not be a signed out-of-state voter registration form or a

   direct communication with the registrant. He wrote, “When a voter registers in a new state, it is

   common practice for election officials to send notice of cancellation to the voter’s previous state. . . .



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   These notices use different formats and contain different levels of detail regarding the voter’s

   registration in the new state.” VSD Ex. A at 2 (emphasis added). Representative Wesco attached six

   sample “notices,” only two of which contained direct communication with a registrant. Id. at 3-8.

           IED policy does not require a county to acquire or review a copy of an underlying out-of-

   state voter registration form to determine that an individual “authorized . . . cancellation.” At his

   deposition, Co-Director King testified that determining “authoriz[ation of] . . . cancellation” does not

   require actual review of a signed out-of-state voter registration form or direct contact with a

   registrant:

           Q. Do you, in making that determination that a voter registration application
           constitutes voter authorization, is it your position that in order to cancel an Indiana
           registration based on an out of state registration, subsequent out of state registration,
           are you required to see the actual form?
           A. No.
           Q. Would it be enough that an out of state official represented to you that such a form
           exists?
           A. Yes.
           Q. So your position is that a county can cancel that voter registration record without
           seeing the actual form, the actual voter registration form from the out of state
           registration?
           A. That is correct.
           Q. That’s the position of the Indiana Election Division?
           MR. GARN: Objection; form; foundation.
           A. I think I can say that has been the practice of the Indiana Election Division since
           the enactment of the NVRA . . . .

   NAACP Dkt. 42-22 at 70:23-71:21.

           Describing how Indiana would determine whether a voter flagged by IDEA had “authorized

   the cancellation of any previous registration by the voter when the voter registered in another state,”

   SEA 334 §§ 5.5(d)(3), Co-Director King testified, “[t]he additional work that might be required

   under [SEA] 334 would be that in some cases, the Election Division might have to confirm from

   Illinois whether or not . . . the registration form . . . authorized canceling of his previous

   registration.” H.R. Hr’g. That is, Indiana would not receive information directly from the



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   registrant, id., or see that registrant’s voter registration form, see id.; SEA 334 § 5.5(f) (“A copy of

   the actual voter signature is not required to be provided to the county for the voter's status to be

   canceled if the written notice is forwarded by the election division.” (emphasis added)). Rather, IED

   would ask another state whether a voter registration form had language containing an authorization

   to cancel previous voter registrations. H.R. Hr’g. The Fiscal Impact Statement also confirms

   SEA 334 does not substantially change voter list maintenance procedures. See TD Ex. 4 at 3 (“Voter

   Cancellation–Similarly, as described under the IDEA section directly above, county voter

   registration offices would have very similar procedures to conduct voter checks and cancellations

   under the IDEA program as under the current program. Therefore, this provision is not likely to

   significantly change the expenditures or workloads of county voter registration offices.”).

           Facing questions regarding SEA 334’s compliance with federal law and effective injunctions,

   Co-Director King stated that “the most important point to understand is that no final ruling has yet

   been issued in this litigation” and that “Indiana election legislation has gone on to the US Supreme

   Court. That’s the only place where we will have a final answer, either by a hearing, or by denial of

   certiorari to this particular litigation, assuming it continues without settlement.” H.R. Hr’g. King

   further stated “I don’t want anyone to be under the misimpression that a court has definitively ruled

   anything with regard to the provisions that are in current law or as amended by 334. Although,

   certainly the Seventh Circuit has indicated that it has serious issues with them.” Id. King did not

   represent that SEA 334 complied with the NVRA or cured Defendants’ NVRA violations. Id.

           6. Illustrative Data Processing

               a. Non-Uniformity

           The Co-Directors often receive and respond to counties’ inquiries regarding voter list




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   independently, and without consulting one another.13 The Co-Directors may also disagree on policies

   and procedures in response to counties’ inquiries. See, e.g., NAACP Dkt. 42-21 at 21:7-22:3; see also

   NAACP, 326 F. Supp. 3d at 651-52. County officials typically reach out to the Co-Director sharing

   their political affiliation, see NAACP Dkt. 42-23 at 13:16-22; NAACP Dkt. 42-25 at 14:1-8; NAACP

   Dkt. 42-24 at 16:16-25; NAACP Dkt. 42-26 at 13:2-4. Where the Co-Directors provide conflicting

   instructions, they allow counties to use their discretion to implement whichever conflicting

   instruction they elect. NAACP Dkt. 42-21 at 11:14-12:13, 23:17-23; NAACP Dkt. 42-24 at 61:4-62:6.

   The Co-Directors “ultimately relegate responsibility for NVRA compliance to the counties by

   directing counties to use their best judgment in implementing the instructions the co-directors

   provide.” NAACP, 326 F. Supp. 3d at 652.

          The Co-Directors inform the counties that their direction is advisory and optional. NAACP

   Dkt. 42-21 at 16:14-19, 19:23-20:24, 153:16-23; NAACP Dkt. 42-22 at 32:25-33:9.14 Counties are

   not provided any direction as to how they must “determine” whether the individual “identified in the

   report provided by the NVRA official . . . is the same individual who is a registered voter of the

   county.” Ind. Code § 3-7-38.2-5(d); NAACP Dkt. 42-21 at 73:13-21. This “same individual”

   determination is common to SEA 334 and SEA 442. No written guidance, manual, step by step

   instruction, or standard operating procedure states that any additional inquiry is required or even

   suggested.15 And in fact, counties rarely review or request any material outside of the data provided

   to them by the Election Division. NAACP Dkt. 42-23 at 30:7-13; NAACP Dkt. 42-25 at 30:20-31:16;



          13
             See, e.g., NAACP Dkt. 42-5; see also NAACP, 326 F. Supp. 3d at 652.
          14
             NAACP Dkt. 42-21 at 16:14-19; NAACP Dkt. 42-22 at 32:25-33:9.
          15
             See, e.g., NAACP Dkt. 42-15 at 34, Indiana Election Division); NAACP Dkt. 42-16 at 3,
   Indiana Election Division); NAACP Dkt. 42-20 ; NAACP Dkt. 42-17; NAACP Dkt. 42-3 at 21;
   NAACP Dkt. 42-4 at 19; NAACP Dkt. 42-18 at 12; see also NAACP Dkt. 42-28 at 30:12-24,
   42:9-43:8; NAACP Dkt. 42-21 at 143:3-10, 153:16-23; NAACP Dkt. 42-23 at 30:14-21; NAACP Dkt.
   42-25 at 30:20-31:16.


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   NAACP Dkt. 42-28 at 29:4-30:24.

           Without oversight, counties apply state law regarding voter list maintenance non-uniformly.

   Three clerks independently suggested that they approve matches on the basis of unusual names—

   without regard to the prevalence of the name in the other county or state.16

           Defendants’ own data confirms that Indiana’s 92 counties conduct voter list maintenance

   non-uniformly. See NAACP Dkt. 42-14. For example, 15 counties approved 100% of the Crosscheck

   matches forwarded to them by the IED. Id. Fourteen more counties approved more than 99% of

   Crosscheck matches. Id. On the other hand, some counties approved matches more cautiously. See

   id.17

           Plaintiffs deposed county officials in seven representative counties whose differing match

   rates suggested non-uniform application of law. In Elkhart County, officials processed zero records

   the Crosscheck hopper, because it was “[not] useful” and “redundant” of other voter list maintenance

   and “didn’t feel it a good use of our county money” or “an efficient use of [its] time and resources.”

   TD Ex. 5 at 51:13-52:3, 55:21-56:16. In Allen County, the Democratic and Republican sides of the

   office alternate weeks processing data in hoppers. TD Ex. 6 at 15:11-16:21. The Democratic county

   official was surprised to hear that her own county had approved 98.7 percent of records in the

   Crosscheck hopper. Id. at 70:13-71:4. In Dearborn County, the Republican County Clerk testified



           16
              See NAACP Dkt. 42-23 at 31:10-32:13 (stating she would not cancel the voter registration
   of a person who had a name “too common to assume that it is the same person,” but would cancel
   the voter registration “if she had a super odd name”); NAACP Dkt. 42-25 at 32:9-13 (“[I]f they have
   an unusual name . . . but you don’t have, maybe, the Social Security number, you might go ahead
   and accept it if you have the same date of birth and an extremely unusual name.”); NAACP
   Dkt. 42-28 at 44:9-45:20 (stating she would match “Nicholette Marcos” but not “John Smith”).
           17
              For example, Clark County (rejecting 28% of matches); Delaware County (failing to
   process a single match and leaving 2,062 matches “pending”); Elkhart County (approving 0.2%,
   rejecting 22%, and leaving 78% pending); Lake County (rejecting 41%); Porter County
   (approving 48%, rejecting 0.7%, leaving 44% pending, and marking 7% “Research Needed”); St.
   Joseph County (approving 77%, rejecting 15%, and leaving 8% pending).


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   she not know whether Indiana was a member of Crosscheck or whether or how it was used for voter

   list maintenance in Indiana. TD Ex. 7 at 50:17-52:10. The Co-Directors have undertaken no study of

   how counties make voter list maintenance decisions. NAACP Dkt. 42-21 at 127:23-128:1

   (“Q. Beyond providing guidance, do you take any steps to understand what the counties are doing to

   make this [cancellation] determination? A. No.”).

                b. “Date of Registration”

           Crosscheck shows that states use different definitions for the field “date of registration.”

   NAACP Dkt. 42-19.18 Many states, including Indiana when it was a participant, do not supply

   definitions at all. NAACP Dkt. 42-19. Indiana compared the “dates of registration” it received even

   though data provided by different states “may reflect different points of the process.” NAACP

   Dkt. 42-21 at 98:15-101:20. SVRS “filtering is done without regard to what definition of date of

   registration the other state applies.” NAACP Dkt. 42-22 at 30:16-25. Indiana does not “distinguish

   between states that use a similar procedure to what Indiana uses versus states which may have a

   completely different definition for what date of registration may mean.” Id. at 28:15-21; see also id.

   at 23:15-24:23.19




           18
              See also NAACP, 326 F. Supp. 3d at 657 (“[T]he data definitions are not consistently used
   or applied by each of the participating states, and thus, some data may be missing or may be used in
   disparate ways by the different states. This is especially true of the dates of registration.”); TD Ex. 8
   at 41:8-13; TD Ex. 9 at 96:16-97:3, 121:21-122:10; NAACP Dkt. 42-22 at 28:9-14. Some states used
   the most recent voter-initiated update as a proxy for date of voter registration. NAACP Dkt. 42-19.
   Some states update the field for events like changing political parties, updating names, moving
   within a county, or leaving and returning; others do not. Id.; TD Ex. 8 at 61:11-21; TD Ex. 9
   at 121:11-122:5.
           19
               A recent state-by-state study also found that “an implausibly large number of
   registrants . . . (1 in 50) are listed as registering on January 1st.” NAACP Dkt. 42-12 at Summary of
   Key Results. Yet, January 1st is “one of the least likely days for a registration application to be
   processed” because government offices are closed. Id. at 20. In Indiana, roughly 1% of voters have
   January 1 registration dates. Id. at 23 fig.8. Five of the six states having more than 5% of voters with
   January 1 registration dates were Crosscheck participants in 2016.


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          Counties testified that they would “approve” a “matched” voter registration without

   examining any information related to when voters had registered to vote in another state. NAACP

   Dkt. 42-23 at 33:12-19; TD Ex. 10 at 76:21-77:4. Counties assumed the voter’s out-of-state

   registration was the more recent one. NAACP Dkt. 42-25 at 32:18-25 (“Yes. That’s what we’re told

   that ours is the oldest.”); TD Ex. 10 at 75:15-76:17, 77:17-19, 81:25-82:11. Indeed, the NVRA

   official did not give the counties the supposed out-of-state “date of registration” provided by

   Crosscheck. NAACP Dkt. 42-23 at 33:12-19; NAACP Dkt. 42-22 at 24:6-12; NAACP Dkt. 42-28

   at 77:1-4.; TD Ex. 6 at 45:14-22; NAACP Dkt. 42-24 at 56:19-24; TD Ex. 5 at 79:4-12; NAACP

   Dkt. 42-28 at 76:13-25. Nor are counties told by Defendants that different states use different

   definitions of “date of registration.” TD Ex. 6 at 74:10-75:3; TD Ex. 10 at 100:11-24; TD Ex. 5

   at 110:12-16. Counties receive no guidance or training on how to analyze dates of registration,

   NAACP Dkt. 42-21 at 74:1-7; NAACP Dkt. 42-23 at 37:6-13.

      B. The Plaintiffs

          1. Plaintiffs Are Committed to Registering Voters and Protecting Voters’ Rights

          Plaintiffs are three nonprofit organizations focused on increasing civic participation. A large

   part of Plaintiffs’ work involves promoting and facilitating voter participation. In particular, voter

   registration is a vital part of the Indiana NAACP’s and League’s missions, and has been since each

   group’s founding. Helping Indiana citizens get on (and stay on) voter registration lists is critical to

   supporting civic participation, because voters cannot participate in Indiana elections without being

   registered. Plaintiffs also support laws and policies that allow eligible voters to cast ballots without

   risk of wrongful disenfranchisement. Plaintiffs hereby incorporate by reference the factual

   descriptions of their organizations, their missions, and their efforts to counteract the effects of

   SEA 442. See NAACP Dkt. 41, 43, 44; Common Cause Dkt. 74, 74-24.

          The Indiana NAACP has already expended scarce resources to combat SEA 442 and the


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   Crosscheck Program. NAACP Dkt. 44 ¶ 22. In response to SEA 334, the Indiana NAACP will be

   forced to expand its voter education and poll monitoring programs to address the law’s effects, and

   these efforts will be even more difficult because of limits to in-person engagement during the

   COVID-19 pandemic. See Supplemental Declaration of Barbara Bolling-Williams ¶ 13. In addition,

   the Indiana NAACP will have to encourage and assist voters in checking their registration status to

   ensure they have not been purged incorrectly. Id. These efforts come at time when the Indiana

   NAACP is facing unusually limited resources, given fundraising limitations and new costs arising

   from the pandemic. Id. ¶ 14. Combating the effect of purges under SEA 334 would drain resources

   that the Indiana NAACP relies on to prepare for Election Day and advocate for other democratic

   policies. Id.; NAACP Dkt. 44 ¶¶ 10, 13.

          Purging voters immediately without notice and the waiting period, as permitted under

   SEA 334, would harm the League’s ability to boost voter engagement and undermine League efforts

   to register Indiana voters. Declaration of Linda Hanson ¶¶ 15, 17. Moreover, combating the effects

   of an illegal voter purge months before the election will consume significant League resources.

   Id. ¶ 22. The League will have to devote resources to ensuring that voters have not been improperly

   purged. For example, the League would have to devote time and resources toward encouraging

   voters to check their registration status. Id. ¶ 14. Any time that League members spend addressing

   the risk of a voter purge by educating voters or re-registering purged voters takes away time and

   resources that could otherwise be spent registering new voters or assisting voters with other

   purposes. Id. ¶ 22.

          One county official testified that her office “work[s] with a number of organizations, the

   League of Women Voters, the NAACP, various community organizations, where we conduct an

   ongoing training to try to familiarize people, and . . . encourage people to take the responsibility for




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   checking their voter registration.” TD Ex. 6 at 53:11-17, 54:6-56:11. The office “couldn’t [get the

   message out to check one’s voter registration] without partnering with various organizations who

   help us get the word out, because they are dealing with their own populations . . . .” Id. at 93:8-12.

   “It’s an ongoing effort.” Id. Members of the NAACP and the League volunteer as poll workers and

   attend trainings that teach them how to, among other things, “deal with fail-safe procedures [and]

   voter registration issues.” Id. at 78:2-79:5. Counties “recruit people from various organizations to

   work as our temps.” Id. at 56:4-8.

          Since enactments of SEA 442 and SEA 334, Common Cause Indiana has had to devote

   significant staff and time and resources to ameliorating the effects of these laws, including

   conducting activities such as training sessions aimed at educating voters and community activists

   about the increased risk of erroneous voter registration cancelations. Supplemental Declaration of

   Julia Vaughn ¶¶ 19-20. In the past, for example, Common Cause Indiana has conducted training

   sessions for member volunteers to serve as poll monitors, and it anticipates doing so again for the

   2020 general election. Id. ¶ 21. Topics for these trainings have focused on polling place procedures,

   voter rights, and what to do when a poll monitors thinks a voter’s rights are being violated. Id.

   Common Cause Indiana’s staff spends considerable time developing a curriculum and presentation

   materials for these sessions. Id. ¶ 22. Because of SEA 442 and SEA 334, the organization has had to

   change its curriculum and presentation materials to address the increased risk of voters being

   erroneously removed from the voter rolls. Id. It also has had to adjust its long-term planning for

   these trainings to take into account an increased need to educate volunteers on voter purge issues

   created as a result of SEA 334. Id. ¶ 21.

          Common Cause Indiana will also have to spend a greater portion of the fixed amount of time

   it has for these sessions discussing SEA 442 and SEA 334’s effects, which necessarily diverts from




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   time that it could spend talking about other issues. Id. ¶ 24. Discussing the impact of SEA 442 and

   SEA 334 on voters also generates questions both during and after the sessions to which Common

   Cause Indiana has to respond. Id. ¶ 23. As Common Cause has only one full-time employee in

   Indiana, fielding these calls takes away from Common Cause’s ability to work on its other priorities

   in the state. Id. ¶¶ 23-24.

           In the past, Common Cause Indiana volunteers and voters have also called Common Cause

   Indiana on Election Day because their names had been erroneously removed from the voter roll.

   Id. ¶ 24. Common Cause Indiana believes that the number of these calls will increase significantly

   once SEA 334 is implemented. Id. In previous elections, the organization has had 50-80 volunteers

   serving as poll monitors in the field. Id. ¶ 25. Because Ms. Vaughn is usually the only person

   fielding calls from them, she will be less able to address other poll access issues that inevitably come

   up on what is a very busy day for our organization. Id. Common Cause Indiana volunteers at polling

   sites on Election Day will also have to spend more time assisting the increase in voters who have

   been erroneously removed from the rolls and will be less able to assist voters with other poll access

   issues. Id. ¶ 26. The time that Common Cause Indiana has expended and will continue to expend

   addressing the effects of SEA 334 necessarily diverts time that the organization spends on its other

   advocacy, education, voter assistance, and lobbying efforts, including but not limited to its efforts to

   expand early voting and implement non-partisan redistricting, as well as its education and assistance

   related to poll monitoring and volunteering on Election Day. Id. ¶ 27.

           Voters who have been and are continuing to be registered through the Plaintiffs’ voter

   registration programs are directly vulnerable to the automatic cancellation of their registrations based

   on Crosscheck and IDEA results that SEA 442 and SEA 334 mandate and thus face imminent

   likelihood of disenfranchisement.




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           The District Court has already made factual findings consistent with the foregoing

   descriptions of the NAACP, the League, and Common Cause Indiana, their missions, and their

   efforts to counteract the effects of SEA 442, NAACP, 326 F. Supp. 3d at 650-51; Common Cause

   Ind. v. Lawson, 327 F. Supp. 3d 1139, 1142-43 (S.D. Ind. 2018), and the Court of Appeals affirmed

   their standing to challenge SEA 442, Common Cause, 937 F.3d at 946 (“We conclude that the

   plaintiff organizations in each case adequately demonstrated their standing to bring these actions and

   that the district court did not abuse its discretion by granting preliminary relief.”). Plaintiffs actions

   are ongoing, as SEA 334 is substantially similar to SEA 442. Since the enactment of SEA 334,

   Plaintiffs have redoubled their efforts.

                                               ARGUMENT

           Plaintiffs bring this claim under 42 U.S.C. § 1983 and Section 11(b) of the NVRA. The

   NVRA provides a private right of action for “a person who is aggrieved by a violation of this

   chapter . . . .” 52 U.S.C. § 20510(b)(1). To establish a claim under 42 U.S.C. § 1983, two elements

   must be satisfied: (1) a deprivation of a right secured by the Constitution or the laws of the United

   States and (2) the deprivation was caused by a person acting under the color of state law. See West v.

   Atkins, 487 U.S. 42, 48 (1988).

           Defendants have made clear that they intend to cancel voter registrations through procedures

   and for reasons that this Court and the Court of Appeals have already said the NVRA forbids.

   Defendants admit to facts showing that SEA 334 operates identically to the enjoined SEA 442 in all

   material ways. Unrebutted testimony of third parties corroborates those facts. As explained below,

   Plaintiffs have met their burden for this Court to grant summary judgment in their favor.




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   I.        LEGAL STANDARDS

             A.      Summary Judgment

             Summary judgment is called for where no genuine dispute of material fact remains and the

   moving party is entitled to judgment as a matter of law. Fed. R. Civ. Proc. 56(a); United States v.

   Adent, 821 F.3d 911, 914 (7th Cir. 2016). Summary judgment is “not a disfavored procedural

   shortcut, but rather is an integral part of the federal rules as a whole, which are designed to secure

   the just, speedy, and inexpensive determination of every action.” Foxworthy v. Buetow,

   492 F. Supp. 2d 974, 979 (S.D. Ind. 2007); see also Celotex Corp. v. Catrett, 477 U.S. 317, 327

   (1986).

             The movant “bears the initial responsibility of informing the district court of the basis for its

   motion,” Celotex, 477 U.S. at 323, and identifying those portions of “the pleadings, the discovery

   and disclosure materials on file, and any affidavits” that show the absence of a genuine issue of

   material fact, Fed. R. Civ. Proc. 56(c). Once the moving party meets that burden, “the nonmovant

   must set forth specific facts demonstrating that a genuine issue of material fact exists for trial, and

   may not rely upon mere allegations or denials of the pleadings.” Wollin v. Gondert, 192

   F.3d 616, 621 (7th Cir. 1999). In other words, the non-moving party must demonstrate, through

   specific evidence, that a genuine issue of triable fact remains. Doe v. Roe No. 1, 52 F.3d 151, 154

   (7th Cir. 1995). The “mere existence of a factual dispute, by itself, is not sufficient to bar summary

   judgment,” and, if “the nonmoving party fails to establish the existence of an element essential to his

   case, one on which he would bear the burden of proof at trial, summary judgment must be granted to

   the moving party.” Foxworthy, 492 F. Supp. 2d at 979 (quoting Ortiz v. John O. Butler Co., 94 F.3d

   1121, 1124 (7th Cir.1996)).




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          B.      Law of the Case

          The doctrine of law of the case establishes “a presumption that a ruling made at one stage of

   a lawsuit will be adhered to throughout the suit.” Avitia v. Metro. Club of Chi., Inc., 49 F.3d 1219,

   1227 (7th Cir. 1995). Where an “original ruling was by a higher court, the lower court [is]

   required . . . to adhere to the ruling unless the reasons for departure are truly compelling, such as a

   contrary ruling by a still higher court.” Id.; see also Cole Energy Dev. Co. v. Ingersoll-Rand Co.,

   8 F.3d 607, 609 (7th Cir.1993); Wilder v. Apfel, 153 F.3d 799, 803 (7th Cir. 1998) (the doctrine

   “requires the trial court to conform any further proceeding on remand to the principles set forth in

   the appellate opinion unless there is a compelling reason to depart” (quotation marks omitted)).

          Both this Court and the Seventh Circuit have ruled on the meaning of relevant NVRA

   requirements, which now operate as law of the case. Specifically, the Seventh Circuit affirmed that

   the NVRA requires that Indiana have “direct contact with the voter” prior to any removal from the

   voter registration rolls. See Common Cause, 937 F.3d at 958 (“Indiana insists that [SEA 442]

   complies with the NVRA, despite the fact that it omits any direct contact with the voter . . . . The

   state attempts to trivialize that omission, but a review of the NVRA reveals that it is fatal.”).

          Although these rulings took place in the posture of a preliminary injunction ruling and

   affirmance, they were not preliminary factual determinations or applications of the law to the facts—

   they were rulings on the meaning of the federal statute governing this case. As such, these rulings

   became law of the case. See Matter of Oil Spill by Amoco Cadiz Off Coast of France on Mar. 16,

   1978, 954 F.2d 1279, 1291 (7th Cir. 1992) (“The Supreme Court recently said, ‘when a court decides

   upon a rule of law, that decision should continue to govern the same issues in subsequent stages in

   the same case.’” (citing Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816

   (1988))); Culp v. Madigan, 270 F. Supp. 3d 1038, 1054 (C.D. Ill. 2017), aff’d sub nom. Culp v.




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   Raoul, 921 F.3d 646 (7th Cir. 2019) (applying law of the case to legal conclusions of the Seventh

   Circuit’s decision on appeal of a denied preliminary injunction); Sierra Club v. Khanjee Holding

   (US) Inc., 655 F.3d 699, 704 (7th Cir. 2011) (“Matters decided on appeal become

   the law of a case to be followed on a second appeal, unless there is plain error of law in the original

   decision.”).

   II.     SEA 334 AND DEFENDANTS’ IMPLEMENTATION THEREOF VIOLATE THE
           NVRA BY PERMITTING CANCELLATION OF A VOTER REGISTRATION
           WITHOUT DIRECT CONTACT WITH A REGISTRANT

           A.      The NVRA Forbids Cancellation Without Direct Contact with a Registrant

           In spite of the Seventh Circuit’s clear directive that any voter list maintenance program based

   on change in residence must include direct contact with a registrant prior to cancellation of the

   voter’s registration, Defendants have authored an amended law that repeats its predecessors’ flaws to

   a tee and delegated its implementation to themselves.

           Section 8 of the NVRA allows Indiana to remove a registrant from the voter rolls only “at the

   request of the registrant,” 52 U.S.C. §§ 20507(a)(3); or “by reason of . . . a change in the residence

   of the registrant,” so long as the “registrant . . . confirms in writing that the registrant has changed

   residence” or “has failed to respond to a notice [and] has not voted or appeared to vote” in

   consecutive general Federal elections, id. §§ 20507(a)(4)(B), (d)(1)(A)-(B); see also NAACP, 326

   F. Supp. 3d at 650. The Notice-and-Waiting Requirements are set out, in turn, in Section

   20507(d)(2) and provide that the voter must be sent a notice via forwardable mail with a

   pre-addressed and pre-paid card that can be returned to the county, allowing the voter to confirm her

   address. 52 U.S.C. § 20507(d)(2). Absent confirmation in writing, or a return of the notice card, the

   state cannot cancel the voter registration unless the registrant also fails to contact the election office

   or appear to vote in two federal elections. Id. § 20507(d)(1). “The statute . . . relies . . . on follow-up

   with the individual voter.” Common Cause, 937 F.3d at 959. That way, the Notice-and-Waiting


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   Requirements provide a registrant with opportunity to correct an incorrect conclusion that the voter

   has changed residence. This notice and waiting period is essential given the possibilities of error

   when doing large and systematic list maintenance efforts and the consequences of

   disenfranchisement from those errors.

           The Court of Appeals did not mince words: The NVRA “forbids a state from removing a

   voter from that state’s registration list unless: (1) it hears directly from the voter via a ‘request’ or a

   ‘confirm[ation] in writing’ that the voter is ineligible or does not which to be registered; or (2) the

   state goes through the statutorily prescribed [Notice-and-Waiting Requirements]. Both of these

   avenues focus on direct contact with the voter.” Id. at 959 (first alteration in original); see also id.

   at 959 (“[T]he NVRA prohibit[s] . . . removing voters without either hearing from them directly or

   going through the notice process.”). The “omi[ssion of] direct contact with the voter whose name has

   been flagged” is “fatal.” Id. at 958.

           “[T]he NVRA’s procedures for removal must be followed ‘to the letter.’” Id. at 962 (quoting

   Husted v. A. Philip Randolph Inst., 138 S. Ct.1833, 1842 (2018)). In pertinent part, those procedures

   are twofold.

           First, with respect to “request[s] of the registrant,” the Court of Appeals recognized that the

   NVRA sets a minimum standard: “when a state does not itself possess a copy of a communication

   from a suspected Indiana registrant, it does not have a ‘request of the registrant’ sufficient by itself to

   permit immediate removal of that voter’s name from the rolls.” Id. at 961. That is, absent possession

   of a sufficient underlying document from the registrant herself, such as a voter registration form,

   Indiana may not purport to cancel at the “request of the registrant.” Id. “[T]he state must receive a

   direct request from ‘the registrant’ before de-registering that person.” Id.




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           Second, the NVRA requires that “[a] State shall not remove the name of a registrant . . .

   unless the registrant . . . confirms in writing that the registrant has changed residence.” 52 U.S.C.

   § 20507(d)(1)(A).” If Indiana has information suggesting a registrant may have left the state, “the

   NVRA then requires that the state either ‘confirm’ the information with the registrant before

   removing the person from the rolls or attempt to provide personal notice.” Common Cause, 937 F.3d

   at 962. “It stretches the meaning of ‘confirm’ past its limits to ignore its key feature of corroborating

   or verifying a prior piece knowledge [sic].” Id. Indiana “cannot . . . skip past the requirement that it

   confirm the move directly with the voter or use the notice procedure prescribed by statute.” Id.

           B.      SEA 334 and Defendants’ Implementation Thereof Permit Cancellation of
                   Voter Registrations Without Direct Contact with a Registrant

           Notwithstanding the Seventh Circuit’s affirmance of this Court’s injunction, Defendants

   Lawson and King drafted a bill that once again fails on its face to comply with the NVRA. SEA 334

   continues the simple, fatal violations of its predecessors: it illegally permits removal from the rolls

   without “(1) hear[ing] directly from the voter via a ‘request’ or a ‘confirm[ation] in writing’ that the

   voter is ineligible or does not which to be registered; or (2) . . . go[ing] through the statutorily

   prescribed [Notice-and-Waiting Requirements].” Id. at 959 (second alteration in original). As with

   SEA 442, SEA 334 “does away with the process of personal contact with the suspected ineligible

   voter and allows Indiana election officials to remove a person from the rolls . . . without direct

   notification of any kind.” Id. 20 It does not follow the NVRA’s “critical” requirement “that the

   registrant must inform the state about the change in residence, or the registrant must fail to respond




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             See also NAACP, 326 F. Supp. 3d at 661 (“[I]nformation is not coming from the voter but
   rather from Crosscheck . . . .”); Common Cause, 937 F.3d at 946 (SEA 442 “allow[ed] Indiana
   immediately to remove a voter based on information received from a third-party database rather than
   in response to direct contact with the voter.”); id. at 961 (“[T]he system [Indiana] chose flouts the
   NVRA’s command that the state rely on the registrant herself.”).


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   to a notice sent by the state inquiring about continued eligibility.” Id. at 948. Because it “fatal[ly]”

   “omits any direct contact with the voter,” it violates the NVRA. Id. at 958.

                  1.      SEA 334 Replaces Crosscheck with IDEA to Identify Voters Who May Have
                          Moved Out-of-State Based on Voting Records.

          Just as SEA 442 used Crosscheck to find potential “matches” indicating an Indiana voter may

   have moved to another state, SEA 334 does the same thing, merely replacing Crosscheck with

   IDEA. See Facts §§ A.4-5. IDEA, like Crosscheck, does this by trying to identify voters who have

   purportedly registered to vote in another state. NAACP Dkt. 42-2 at 3; H.R. Hr’g (Senator Walker

   describing IDEA as “a voter list maintenance list crosscheck database, model[ed] off of existing

   products and former systems”). IDEA, like Crosscheck, purports to compare certain voter

   registration information provided by participating states with Indiana’s own voter records to identify

   “matches” between Indiana voter records and out-of-state records where the (i) first name, last name,

   and dates of birth match. See Facts §§ A.4-5. As under SEA 442, SEA 334 requires the application

   of “confidence factors” to these “matches,” with the IED forwarding “matches” that meet the 75-

   point threshold to relevant counties for processing. See id.; S. Hr’g (King: “[A]fter receiving notice

   from [IDEA] that an Indiana voter may be registered in another state, the Election Division would

   provide the County Voter Registration Office these matching—potentially—records.”); NAACP

   Dkt. 42-2 at 3; NAACP Dkt. 42-21 at 66:16-67:1. Finally, IDEA, like Crosscheck, does not involve

   direct contact with a registrant, or collect or disseminate the actual voter registration documents

   underlying its “matches.” SEA 334 §§ 5.5(a)-(b); SEA 334 §§ 5.5(b), (f); NAACP, 326 F. Supp. 3d

   at 653; NAACP Dkt. 42-21 at 96:20-97:9.

          For all relevant intents and purposes, Indiana has created another Crosscheck. S. Hr’g

   (Nussmeyer stating she was “not in support of the state creating a Kansas Crosscheck program ” and

   that IDEA’s primary effect “is [to] have Indiana become the next Kansas”); see also Facts § A.5.



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   Neither procedure demands that officials first hear “directly” from the voter; if SEA 442 violates the

   NVRA—as this Court and the Seventh Circuit held—then so does SEA 334.

                  2.      SEA 334 Permits Cancellation of IDEA Matches without Meeting the NVRA’s
                          “Request of the Registrant” or “Confirm[ation] in Writing” Requirements

          SEA 334 maintains SEA 442’s requirement that counties “determine” whether the matched

   data from IDEA indeed reflects the same voter registered in two states. SEA 334 adds one

   requirement before a county can cancel the registration that did not exist in SEA 442 – that the

   county “determin[e]” the individual “authorized the cancellation of any previous registration by the

   voter when the voter registered in another state.” SEA 334 § 5.5(d)(3). This standard does not follow

   the NVRA, which speaks of removal at the “request of the registrant” and “confirm[ation] in writing

   that the registrant has changed residence.” 52 U.S.C. §§ 20507(a)(3)(A), (d)(1)(A). And as

   Defendants have made clear, a county can determine an “authoriz[ation of] cancellation” without

   reviewing a signed out-of-state voter registration form or having direct contact with a registrant.

   See SEA 334 § 5.5(d)(3); NAACP Dkt. 42-22 at 70:23-71:23; See Facts § A.5.

          SEA 334 goes a step further and specifically provides for cancellation without any direct

   communication from a voter:

          If the election division forwards written notice from another state to an Indiana county voter
          registration official, the county should consider this notice as confirmation that the individual
          is registered in another jurisdiction and has requested cancellation of the Indiana registration.
          A copy of the actual voter signature is not required to be provided to the county for the
          voter’s status to be canceled if the written notice is forwarded by the election division.

   SEA § 3-7-38.2-5.5(f)(2). That is, the IED can forward the county a “written notice” that the Indiana

   voter is registered in another state—which is not the voter’s supposed out-of-state registration—to

   trigger cancellation of the voter’s registration without notice. According to Defendants, “written

   notice” could be just about anything—“a printout from a county voter registration office,” or “a

   compilation made at the state level that lists” voter registration information, or an “email[] from an



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   individual at the county or in some states municipal level regarding that voter registration activity.”

   NAACP Dkt. 42-22 at 42:1-13; see also VSD Ex. A at 2 (“These notices use different formats and

   contain different levels of detail regarding the voter’s registration in the new state,” also attaching

   sample “notices,” four of which contained no direct communication with a registrant). In concrete

   terms, the IED could forward a county registrar an email from an Ohio election official saying that

   Jane Doe registered to vote there recently, and the county would consider that sufficient to cancel

   Jane Doe’s Indiana voter registration without notice.

          This is the same theory of “indirect contact with the voter” that the Seventh Circuit held

   unlawful. Common Cause, 937 F.3d at 959. The process under SEA 334 still “does away with the

   process of personal contact with the suspected ineligible voter and allows Indiana election officials

   to remove a person from the rolls . . . without direct notification of any kind.” Id. 21

          While this Court and the Seventh Circuit concluded that such indirect contact was neither a

   “confirmation” nor a “request” from the voter, the drafters of SEA 334 wrote their disagreement

   with these holdings into the law, instructing counties that they should indeed consider these third-

   party “written notices” as “confirmation that the individual is registered in another jurisdiction and

   has requested cancellation of the Indiana registration.” SEA § 3-7-38.2-5.5(f)(2) (emphasis added).

   Obviously, this does not render the practice NVRA-compliant. The Court of Appeals rejected these

   positions in certain terms:

          Indiana’s first argument is that the registration information received from another
          state counts as a “request” from the registrant to unregister under § 20507(a)(3)(A).
          The state’s second suggestion is that Act 442’s procedure is permissible under the
          NVRA because the new registration is a written confirmation that the registrant has


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             See also NAACP, 326 F. Supp. 3d at 661 (“[I]nformation is not coming from the voter but
   rather from Crosscheck . . . .”); Common Cause, 937 F.3d at 946 (SEA 442 “allow[ed] Indiana
   immediately to remove a voter based on information received from a third-party database rather than
   in response to direct contact with the voter.”); id. at 962 (“[T]he system [Indiana] chose flouts the
   NVRA’s command that the state rely on the registrant herself.”).


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           changed residence, and that fact alone is enough to permit Indiana to remove the
           name under § 20507(d). A closer look at both arguments reveals them to be a stretch,
           at best.

   Common Cause, 937 F.3d at 959.

           The Court of Appeals then meticulously dismantled both arguments. Cancellation upon

   written information or notice from a third party (Crosscheck, IDEA, or another state) is neither “at

   the request of the registrant” nor “the registrant confirm[ing] in writing that the registrant has

   changed residence.” See id. at 960 (“The ordinary meaning of ‘remov[al] . . . at the request of the

   registrant’ is that the registrant requests removal.” (alteration in original)); id. at 961 (“The statute

   states that ‘[a] State shall not remove the name of a registrant . . . unless the registrant confirms in

   writing that the registrant has changed residence.’ § 20507(d)(1)(A). To re-state the obvious,

   Crosscheck is not the resident, nor is it the resident’s agent. . . . A plain-meaning reading of the

   NVRA dictates that the states need to ‘confirm’ something—in this instance the initial information

   they received. It stretches the meaning of ‘confirm’ past its limits to ignore its key feature of

   corroborating or verifying a prior piece knowledge.” (alteration in original)).

           “On its face,” the NVRA prohibits states from “removing voters without either hearing from

   them directly or going through [its] notice process.” Id. at 959. Because SEA 334 still relies on third-

   party information to identify Indiana voters who may have moved out of state, and still allows

   counties to cancel those voters’ registrations without any direct contact with the voters and without

   Notice-and-Waiting, it still violates the NVRA just like SEA 442 did.

           C.      The Record Illustrates Why the NVRA Forbids Cancellation Without Direct
                   Contact with a Registrant

           The NVRA necessitates direct contact or Notice-and-Waiting Requirements prior to

   cancellation for good reason. They provide registrants with opportunities to correct an incorrect

   conclusion on the part of the county that the voter has changed his or her residence based on second-



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   hand evidence. They are essential given the possibilities of error when doing large and systematic

   list maintenance efforts and the consequences of disenfranchisement from those errors. The record in

   this case demonstrates exactly why the Notice-and-Waiting Requirements exist.

           The record is rife with flawed data and incorrect conclusions. First, counties do not apply the

   law uniformly. See Facts § A.6.a. Different counties apply the law differently and Defendants

   enforce no oversight. Id. Second, “date of registration” data does not evince actual dates of voter

   registration. See Facts § A.6.b. It is plainly insufficient to use this vague data to support a conclusion

   as to whether one voter registration postdates another or whether the data corresponds to registration

   activity at all. Id. Third, counties do not apply the law uniformly. See Facts § A.6.a. Indiana’s

   miscues epitomize why the NVRA was enacted:

           We live in a representative democracy, in which the voice of the people is essential
           to the legitimacy of our governing institutions. Democracy starts with each voter’s
           act of showing up at the polls to express his or her preferences. The integrity of the
           voting process is critical, and one measure to protect that integrity is the voter-
           registration process. A name on a voter roll in Indiana is there only because a voter
           took the trouble to put it there. Laws such as the NVRA ensure that the states do not
           undo that work without good reason. “[T]he right ... to vote is a fundamental right,”
           52 U.S.C. § 20501(a)(1). The NVRA is designed to ensure that the competing
           interest in preventing abuse does not wind up disenfranchising American voters.

   Common Cause, 937 F.3d at 962.

                                              CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that this Court grant summary

   judgment in their favor and enter a permanent injunction prohibiting Defendants’ implementation of

   SEA 334 §§ 5.5(d)-(f) and prohibiting Defendants from otherwise removing any Indiana registrant

   from the list of eligible voters because of a change in residence absent: (1) a “request” or

   “confirm[ation] in writing” directly from the voter that the voter is ineligible or does not wish to be

   registered; or (2) the National Voter Registration Act-prescribed process of (a) notifying the voter,




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   (b) giving the voter an opportunity to respond, and (c) then waiting two inactive federal election

   cycles.

   DATED: July 1, 2020                                   Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I, Alexandre J. Tschumi, an attorney, certify that on July 1, 2020, I caused a true and

   correct copy of the foregoing declaration (and accompanying exhibits) to be served on counsel

   for Defendants.

                                                        /s/ Alexandre J. Tschumi
                                                        Alexandre J. Tschumi




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